Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 1 of 37 PageID #: 112




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 CAMERON KEMP                                              CIVIL ACTION NO. 19-0799

                                                           SECTION P
 VS.
                                                           JUDGE ELIZABETH E. FOOTE

 DONALD BELANGER, JR., ET AL.                              MAG. JUDGE KAREN L. HAYES


                             REPORT AND RECOMMENDATION

        Plaintiff Cameron Kemp, who is pro se, filed the instant proceeding on June 21, 2019,

 under 42 U.S.C. § 1983. He names the following defendants: Donald Belanger, Jr., C. Glass

 Bradley, Agent Albrecht, Agent Holly, Shreveport Police Department, Judge R. Lee Irvin, Ross

 Owen, Judge Erin Garret, Richard Fischer, unknown animal shelter officer, and Monique Davis. 1

 For reasons stated below, the Court should, with the exception of Plaintiff’s excessive force

 claim against Officer Belanger, 2 dismiss Plaintiff’s claims.

                                            Background

        Plaintiff maintains that, on December 2, 2016, he and his then-girlfriend, Miranda

 McGee, were involved in a domestic abuse incident. [doc. # 12, p. 3]. Six officers came to his

 residence, saw that he was bleeding, that his hair was pulled out, and that his clothes were

 ripped, but the officers did not make an arrest. Id.

        The next day, at approximately 10:35 a.m., McGee filed a complaint with the Shreveport




 1
  This matter has been referred to the undersigned for review, report, and recommendation under
 28 U.S.C. § 636 and the standing orders of the Court.
 2
  The undersigned directed the Clerk of Court, in a separate Memorandum Order, to serve
 Plaintiff with summons forms for the excessive force claim.
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 2 of 37 PageID #: 113




 Police Department, alleging that Plaintiff beat her the previous day. [doc. # 12-1, p. 8]. At

 approximately 11:52 a.m., Plaintiff filed a complaint with the Shreveport Police Department,

 contending that McGee beat him. [doc. # 12, p. 3]. Plaintiff alleges, “To this day, nothing has

 been done or even said about my injuries or report.” Id.

         On December 5, 2016, McGee informed “the head of the domestic unit” that she lied and

 that she attacked Plaintiff. [doc. # 1-2, p. 3]. McGee repeated her version of events on two

 additional occasions. Id. Plaintiff maintains that, when he searched later, he did not find a

 warrant for his arrest “in the Caddo Courts databases for domestic violence abuse for 12-9-2016

 or 6-21-2018.” Id.

         Plaintiff alleges that, on June 21, 2018, at 6:30 a.m., Officers Bradley, Albrecht, Holley,

 and Belanger (“the arresting officers”) arrived at his residence and informed him that they

 possessed a fugitive warrant for his arrest for an alleged domestic abuse incident in 2016. [doc.

 #s 1, p. 2; 12, p. 1]. Plaintiff “walked outside to the street where the officers were and

 surrendered [himself] to them.” Id.

         Plaintiff claims that, after he surrendered, Officer Belanger “used excessive force.” [doc.

 # 8, p. 3]. Plaintiff alleges: Belanger “grabbed violently by my neck, he used his feet to sweep

 me off of my feet while slamming me into the concrete violently damaging my arm, ribs and my

 back. [sic].” [doc. # 12, p. 2]. Plaintiff had already surrendered, he was already in handcuffs, he

 never resisted arrest or attempted to evade arrest, he did not possess a weapon, and he posed no

 threat. Id.

         Plaintiff also claims that, on June 21, 2018, Officer Bradley lied in his report when he

 swore that he located a bag of marijuana at Plaintiff’s residence, when he stated that he saw a jar

 of marijuana in plain sight at Plaintiff’s residence, and when he stated that he heard Plaintiff



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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 3 of 37 PageID #: 114




 running through his house. 3 [doc. #s 1, p. 3; 12, p. 4]. Plaintiff claims that the officers then

 searched his residence without a search warrant. [doc. # 1, pp. 2-3]. Officers charged Plaintiff

 with possessing and intending to distribute a bag of marijuana that they located in his neighbor’s

 yard. Id. at 3. They also charged him with possessing and intending to distribute marijuana that

 they allegedly planted in his residence. Id.

           Plaintiff claims that, following his arrest, Officer Bradley lied in a “police report,”

 indicating that he had a valid warrant to arrest Plaintiff. 4 Id. at 3.

           As mentioned, Plaintiff did not discover an arrest warrant after he submitted requests for

 records. [doc. # 1, p. 2]. He claims that the arrest warrant that the officers presented was

 fabricated and forged. 5 Id. He claims that his arrest was retaliatory because, in 2012, he

 reported the arresting officers—who Plaintiff refers to as the “Jump Out Boys”—to the ACLU

 after they beat him in February 2012. [doc. #s 1, p. 2; 3, p. 6].

           Following his June 21, 2018 arrest, Plaintiff was charged with domestic abuse battery in

 the Shreveport City Court and with possession with the intent to distribute a schedule 1 CDS in

 Shreveport District Court. [doc. #s 12, p. 4; 12-1, p. 21].

           On August 19, 2019, Monique Davis, a city prosecutor dismissed the domestic abuse

 battery charge. [doc. # 12-1, p. 3]. Plaintiff claims, however, that before she dismissed the

 charge, she denied him public records, produced “a stack of papers without a bill of information”

 or grand jury indictment, produced the fabricated arrest warrant, and produced a picture of a

 woman (the alleged victim) who Plaintiff had never seen before. [doc. #s 1, p. 5; 12, p. 3].



 3
     Plaintiff attaches the arrest report and narrative supplement. [doc. # 12-1, pp. 18-19].
 4
     Plaintiff attaches the arrest report and narrative supplements. [doc. # 12-1, pp. 10, 18-19].
 5
     Plaintiff attaches the alleged fabricated warrant. [doc. # 12-1, p. 5].
                                                     3
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 4 of 37 PageID #: 115




         Plaintiff claims that District Attorney Ross Owen suppressed exculpatory police reports,

 suppressed the fabricated warrant, threatened to imprison him for life, produced an “altered false

 document from 2008 that he knew wasn’t the warrant [Plaintiff] was arrested on,” and moved to

 revoke Plaintiff’s bond “to keep the truth from coming out.” [doc. #s 1, p. 5; 7, p. 1].

         Plaintiff claims that “the Judge and the DA in the courts . . . broke the law” because the

 “warrant is full of lies,” fabricated, and “very illegal.” Id.

         Plaintiff claims that Judge R. Lee Irvin, a Shreveport City Court judge, signed an illegal

 warrant. Id. at 6.

         Plaintiff claims that “prosecutors and agents who broke the law are all working together

 breaking many laws.” [doc. # 3, p. 6]. He adds, “They are all working together in a ring of

 corruption.” Id.

         Plaintiff’s charge, possession with the intent to distribute a schedule 1 CDS, arising out of

 his June 21, 2018 arrest, remains pending. [doc. #s 12, p. 4; 12-1, p. 21].

         In his fourth amended pleading, Plaintiff claims that, on April 3, 2019, Officer Belanger

 lied in an affidavit he submitted to obtain a warrant to search Plaintiff’s residence. [doc. #s 12,

 p. 1; 12-1, p. 25].

         Plaintiff alleges that, on April 4, 2019, an unidentified “officer for the animal shelter”

 lured him out of his house and to the street so that other officers—the “Jump Out Boys Unit”—

 could arrest him. [doc. # 12, p. 1]. Plaintiff claims that luring him to the street was an “illegal

 procedure.” Plaintiff was charged with possession with intent to distribute a schedule 1 CDS and

 possession of a schedule IV CDS. [doc. #s 12, p. 4; 12-1, p. 28].

         Plaintiff claims that Officer Belanger lied when he stated that Plaintiff informed him that

 the drugs were for Plaintiff’s personal use, when he testified that Plaintiff said the “judge was



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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 5 of 37 PageID #: 116




 going to jail for signing this warrant,” and when he testified that he possessed a warrant to arrest

 Plaintiff on June 21, 2018. [doc. # 13, p. 1]. Plaintiff characterizes Belanger’s acts as retaliation

 for filing this civil suit. Id.

          Plaintiff claims that, because he filed this suit against Judge Erin Garret, Garret retaliated

 and revoked his bond. Id. Plaintiff also claims that Judge Garret threatened him, instructing him

 not to discuss his civil allegations during the trial. Id. at 2. Plaintiff claims further that Judge

 Garret knew that the prosecutor and police violated his constitutional rights, but the judge failed

 to act because she is “trying to cover up the crimes . . . .” Id. He also claims that Judge Garret

 failed to empanel a new jury after one juror “had a loud outburst of frustration and anger.” Id. at

 3.

          Plaintiff claims that, at the trial on the charge stemming from his April 4, 2019 arrest, the

 prosecutor, Ross Owen, submitted a forged document which stated that Plaintiff was “busted

 with $3000 with drugs . . . [sic].” Id. at 1.

          Plaintiff claims that, at the same trial, his public defender, Richard Fischer, refused to

 argue that the arresting officers lacked a “warrant in the June 21, 2018 incident . . . .” Id. at 2.

 Fischer also refused to call Plaintiff’s proposed witness. Id. According to Plaintiff, Fischer is

 “guilty of working with the prosecution from day one.” Id.

          A jury found Plaintiff guilty of the charge(s) stemming from the April 4, 2019 arrest. Id.

 at 3.

          Plaintiff seeks declaratory relief, punitive damages, and compensation for his lost wages,

 future lost wages, emotional pain and stress, injured reputation, and bail payments. [doc. # 1, pp.

 1, 7].




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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 6 of 37 PageID #: 117




                                           Law and Analysis

 1. Preliminary Screening

         Because Plaintiff is proceeding in forma pauperis, his Complaint is subject to screening

 under § 1915(e)(2). Section 1915(e)(2)(B) provides for sua sponte dismissal of the complaint, or

 any portion thereof, if the Court finds it is frivolous or malicious, if it fails to state a claim on

 which relief may be granted, or if it seeks monetary relief against a defendant who is immune

 from such relief.

         A complaint is frivolous when it “lacks an arguable basis either in law or in fact.”

 Neitzke v. Williams, 490 U.S. 319, 325 (1989). A claim lacks an arguable basis in law when it is

 “based on an indisputably meritless legal theory.” Id. at 327. Courts are also afforded the

 unusual power to pierce the veil of the factual allegations and dismiss those claims whose factual

 contentions are clearly baseless. Id.

         A complaint fails to state a claim on which relief may be granted when it fails to plead

 “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

 550 U.S. 544, 570 (2007); accord Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim is

 facially plausible when it contains sufficient factual content for the court “to draw the reasonable

 inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing

 Twombly, 550 U.S. at 570). Plausibility does not equate to possibility or probability; it lies

 somewhere in between. Id. Plausibility simply calls for enough factual allegations to raise a

 reasonable expectation that discovery will reveal evidence to support the elements of the claim.

 Twombly, 550 U.S. at 556.

         Assessing whether a complaint states a plausible claim for relief is a “context-specific

 task that requires the reviewing court to draw on its judicial experience and common sense.”



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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 7 of 37 PageID #: 118




 Iqbal, supra. A well-pled complaint may proceed even if it strikes the court that actual proof of

 the asserted facts is improbable and that recovery is unlikely. Twombly, supra.

        Likewise, a complaint fails to state a claim on which relief can be granted if it appears

 that no relief could be granted under any set of facts that could be proven consistent with the

 allegations of the complaint. In making this determination, the court must assume that all of the

 plaintiff’s factual allegations are true. Bradley v. Puckett, 157 F.3d 1022, 1025 (5th Cir. 1998).

 However, the same presumption does not extend to legal conclusions. Iqbal, supra. A pleading

 comprised of “labels and conclusions” or “a formulaic recitation of the elements of a cause of

 action” does not satisfy Rule 8. Id. “[P]laintiffs must allege facts that support the elements of

 the cause of action in order to make out a valid claim.” City of Clinton, Ark. v. Pilgrim’s Pride

 Corp, 632 F.3d 148, 152-53 (5th Cir. 2010). Courts are “not free to speculate that the plaintiff

 ‘might’ be able to state a claim if given yet another opportunity to add more facts to the

 complaint.” Macias v. Raul A. (Unknown) Badge No. 153, 23 F.3d 94, 97 (5th Cir. 1994).

        A hearing need not be conducted for every pro se complaint. Wilson v. Barrientos, 926

 F.2d 480, 483 n.4 (5th Cir. 1991).

        “To state a section 1983 claim, a plaintiff must (1) allege a violation of a right secured by

 the Constitution or laws of the United States and (2) demonstrate that the alleged deprivation was

 committed by a person acting under color of state law.” Whitley v. Hanna, 726 F.3d 631, 638

 (5th Cir. 2013) (internal quotation marks omitted). Consistent with the standard above, a

 “[S]ection 1983 complaint must state specific facts, not simply legal and constitutional

 conclusions.” Fee v. Herndon, 900 F.2d 804, 807 (5th Cir. 1990).




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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 8 of 37 PageID #: 119




 2. Failure to Investigate Accusations Underlying Plaintiff’s June 21, 2018 Arrest

         Plaintiff alleges, “To this day, nothing has been done or even said about my injuries or

 report.” [doc. # 12, p. 3]. He is referencing the report he submitted in December 2016 to the

 Shreveport Police Department, in which he maintained that his girlfriend, McGee, beat him.

 [doc. # 12, p. 3].

         First, it is not clear whether Plaintiff seeks relief for this allegation. To the extent he

 does, he fails to identify a responsible defendant. Even assuming he identified a responsible

 defendant, there is no freestanding right to be free from a negligent or reckless investigation.

 Hernandez v. Terrones, 397 F. App'x 954, 966 (5th Cir. 2010). Likewise, there is no

 freestanding claim that officers ignored exculpatory evidence. Id. Rather, these allegations

 simply color a false-arrest/malicious-prosecution claim. Id. (“We did not hold that the negligent

 investigation and ignoring of exculpatory evidence in Sanders were freestanding constitutional

 violations, rather, they were conduct supporting Sanders' claims for false arrest and illegal

 detention.”).

         To the extent Plaintiff seeks to raise a “freestanding” claim, the Court should deny the

 claim. The undersigned will, however, analyze the allegation above as part of Plaintiff’s overall

 false-arrest/malicious-prosecution narrative.

 3. Heck v. Humphrey and Wallace v. Kato Concerning Plaintiff’s June 21, 2018 Arrest

         Plaintiff claims that, on June 21, 2018, Officer Bradley lied in his report when he swore

 that he located a bag of marijuana at Plaintiff’s residence, when he stated that he saw a jar of

 marijuana in plain sight at Plaintiff’s residence, and when he stated that he heard Plaintiff

 running through his house. [doc. #s 1, p. 3; 12, p. 4]. Plaintiff claims that the officers searched




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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 9 of 37 PageID #: 120




 his residence without a warrant. [doc. # 1, pp. 2-3]. He suggests that the officers acted in

 retaliation following the 2012 ACLU complaint he filed against them.

         Plaintiff was, thereafter, charged with possession with the intent to distribute a schedule 1

 CDS, and the charge remains pending. [doc. #s 12, p. 4; 12-1, p. 21].

         If Plaintiff is convicted of the pending charge, he may not be entitled to seek relief for

 false arrest, for an unconstitutional search, or for a retaliatory arrest until the conviction is

 reversed, expunged, declared invalid, or called into question by a federal court’s issuance of a

 writ of habeas corpus. See Heck v. Humphrey, 512 U.S. 477 (1994) (holding that a successful

 civil rights action that would necessarily imply the invalidity of the plaintiff’s conviction or

 sentence must be dismissed unless the plaintiff first shows that the conviction or sentence has

 been reversed, expunged, declared invalid, or called into question by a federal court’s issuance of

 a writ of habeas corpus).

         While the rule in Heck does not extend to pending criminal matters, successful Section

 1983 claims, under Plaintiff’s allegations, could necessarily imply the invalidity of any future

 conviction for possession or possession with intent to distribute. 6 See Wallace v. Kato, 549 U.S.

 384, 393-94 (2007) (finding that the Heck rule applies only when there has been a conviction or

 sentence that has not been invalidated, not to pending criminal charges).

         Prevailing on the claim that the officer lied in the arrest report could necessarily imply

 the invalidity of Plaintiff’s conviction. In Shaw v. Harris, 116 F. App’x 499, 500 (5th Cir.

 2004), the Fifth Circuit held that Heck barred a plaintiff’s claims of evidence tampering,

 concealment, and perjury because a decision granting the claims “would necessarily imply that



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   A successful claim will not necessarily imply the invalidity of a conviction "if the factual basis
 for the conviction is temporally and conceptually distinct from" the claim. Bush v. Strain, 513
 F.3d 492, 498 (5th Cir. 2008).
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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 10 of 37 PageID #: 121




  her conviction was invalid.” In Lenoir v. Howard, 579 F. App’x 227, 228 (5th Cir. 2012), the

  Fifth Circuit held that the plaintiff’s “claim that he was wrongly convicted based on

  constitutional violations at trial, namely the use of perjured testimony, necessarily implies that

  his conviction was invalid.” 7

          Prevailing on the false arrest claim could necessarily imply the invalidity of a conviction

  because “false arrest . . . claims challenge the existence of probable cause and, thus, by their

  essence are collateral attacks on a criminal judgment’s validity.” Thomas v. Pohlmann, 681 F.

  App’x 401, 406 (5th Cir. 2017) (citing Cormier v. Lafayette City-Par. Consol. Gov’t, 493 Fed.

  App’x. 578, 583 (5th Cir. 2012)); Wells v. Bonner, 45 F.3d 90, 95 (5th Cir. 1995) (“[The

  plaintiff’s] proof to establish his false arrest claim, i.e., that there was no probable cause to arrest

  [for the crime he was convicted of], would demonstrate the invalidity of [the conviction].”). 8

          Plaintiff’s unlawful search claim is likewise predicated on the absence of probable cause

  and, therefore, would constitute a collateral attack on any future conviction founded on evidence




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   See Gonzalez v. Garza, 59 F.3d 1241 (5th Cir. 1995) (holding that claims that evidence was
  manipulated or withheld to corroborate perjured testimony “would be foreclosed by Heck.”);
  Heath v. Thomas, 34 F. App’x 962 (5th Cir. 2002) (finding a claim of withholding evidence
  barred by Heck.); Boyd v. Biggers, 31 F.3d 279, 283 (5th Cir. 1994) (finding a claim of
  withholding exculpatory evidence barred by Heck because, if proved, it would “call [the
  plaintiff’s] conviction into question under Brady v. Maryland, 373 U.S. 83, 83 (1963).”).
  8
    See also Queen v. Purser, 109 Fed. App’x. 659 (5th Cir. 2004) (a former inmate’s false arrest
  claim necessarily challenged whether the evidence, which an officer seized following an
  allegedly illegal stop, and which led to his subsequent conviction, supplied probable cause for his
  arrest; thus, the claim was not cognizable absent a showing that the conviction had been
  invalidated); Chande v. Moore, 606 F. App’x 238, 239 (5th Cir. 2015) (“Because a showing that
  there was no probable cause for the challenged entry, search, seizure, and arrest would call into
  question the validity of [plaintiff’s] resulting conviction for unlawful possession of a controlled
  substance with intent to deliver in a drug-free zone,” the plaintiff’s claims were barred by Heck);
  Goldston v. City of Monroe ex rel. Monroe Police Dep’t, 621 F. App’x 274 (5th Cir. 2015).


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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 11 of 37 PageID #: 122




  derived from the searches. 9 See Hall v. Lorenz, 48 F. App'x 481 (5th Cir. 2002) (“Hall's claims

  regarding his allegedly illegal arrest and illegal search and seizure, if successful, would

  undermine the validity of his felony drug conviction.”); Kato, 549 U.S. at n.5 (“[A] Fourth

  Amendment claim can necessarily imply the invalidity of a conviction . . . .”).

          Further, Plaintiff’s retaliatory-arrest claim could necessarily imply the invalidity of a

  conviction because a “plaintiff pressing a retaliatory arrest claim must plead and prove the

  absence of probable cause for the arrest.” Nieves v. Bartlett, 139 S. Ct. 1715, 1724 (2019).

          Federal courts may stay civil rights claims that attack the legality of a detainee’s arrest,

  prosecution, and detention until the allegedly improper state prosecution concludes. See Kato,

  549 U.S. at 393-94 (“If a plaintiff files a false-arrest claim before he has been convicted (or files

  any other claim related to rulings that will likely be made in a pending or anticipated criminal

  trial), it is within the power of the district court . . . to stay the civil action until the criminal case

  . . . is ended.”) (emphasis supplied).

          Here, Plaintiff’s claims are related to rulings that will likely be made concerning his

  pending charge. Accordingly, the Court should stay the claims pending the outcome of the

  ongoing criminal prosecution.



  9
    While “a suit for damages attributable to an allegedly unreasonable search may lie even if the
  challenged search produced evidence that was introduced in a state criminal trial . . . [b]ecause of
  doctrines like independent source[,] inevitable discovery, and [] harmless error,” Plaintiff’s
  allegations do not suggest that any of these doctrines would, following a finding by this Court
  that the officers lacked probable cause, validate Plaintiff’s conviction. See Heck, 512 U.S. at n.7
  (alterations to original and cited sources omitted); see also Hudson v. Hughes, 98 F.3d 868, 872
  (5th Cir. 1996) (“If proved, however, [the plaintiff’s] false arrest claim necessarily would call
  into question his conviction as a felon in possession of a firearm. Specifically, if the arresting
  officers lacked probable cause to arrest Hudson for burglary and the arrest is invalid, the firearm
  discovered in Hudson’s possession as a result of the arrest would be subject to suppression under
  the Fourth Amendment as the ‘fruit’ of an illegal arrest. Moreover, it is improbable that doctrines
  such as independent source, inevitable discovery and harmless error would permit the
  introduction of the firearm as evidence in this case . . . .”).
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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 12 of 37 PageID #: 123




  4. Lying in an Arrest Report Relative to Plaintiff’s June 21, 2018 Arrest

            Plaintiff ostensibly claims that, following his June 21, 2018 arrest, Officer Bradley lied in

  a “police report,” indicating that he had a valid warrant to arrest Plaintiff. 10 Id. at 3. This

  allegation does not amount to a constitutional violation. See Barber v. Quarterman, 437 F.

  App’x 302, 304 (5th Cir. 2011) (concluding, where the plaintiff alleged that “officials falsified a

  report in violation of his right to due process and that others conspired with them to falsify the

  report[,]” that the allegations did “not state a claim under § 1983 because [the plaintiff] identified

  no constitutional violation.”); see LeBlanc v. Louisiana State Penitentiary, 2015 WL 5011984, at

  *4 (M.D. La. July 28, 2015), report and recommendation adopted, 2015 WL 5025242 (M.D. La.

  Aug. 24, 2015); Ryals v. El Paso Cty., 2015 WL 3540951, at *10 (W.D. Tex. June 3, 2015).

  Accordingly, the Court should dismiss this claim. The undersigned will, however, consider this

  allegation as part of Plaintiff’s larger false-arrest/malicious-prosecution narrative.

  5. Malicious Prosecution Relative to Plaintiff’s June 21, 2018 Arrest

            Plaintiff raises a host of related claims against the arresting officers. Plaintiff’s claims

  are difficult to decipher. It appears that he first claims that, on June 21, 2018, officers arrested

  him under a fabricated or forged fugitive warrant. [doc. # 1, p. 2]. This fugitive warrant,

  according to Plaintiff, did not and does not exist; he searched various records and did not locate a

  fugitive warrant. Id. at 2, 5.

            He attaches a purported docket sheet from the Caddo Parish Clerk of Court, which

  indicates that, on August 14, 2008, the state court issued a bench warrant for his arrest because

  he did not appear in court for sentencing in connection with a conviction unrelated to the charges

  mentioned above. [doc. # 7-1, p. 1]. Plaintiff claims that this is the warrant the officers claimed



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       Plaintiff attaches the arrest report and narrative supplements. [doc. # 12-1, pp. 10, 18-19].
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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 13 of 37 PageID #: 124




  to possess on June 21, 2018, but the claimed warrant must have been fabricated or forged

  because (1) when the fugitive/bench warrant purportedly issued for failure to appear at

  sentencing, Plaintiff had already completed probation for the conviction and (2) the

  fugitive/bench warrant is not in any records. [doc. # 7, p. 1].

         Plaintiff’s attachments, however, indicate that on June 21, 2018, the officers did not

  arrest him for failing to appear at sentencing; rather, they arrested him under a separate warrant

  for domestic abuse battery. [doc. # 12-1, p. 5]. Plaintiff does allege that Officer Bradley

  informed him that he was arresting Plaintiff under a fugitive warrant, but Plaintiff also alleges

  that he was “booked on a fugitive warrant for domestic violence abuse.” Id. (emphasis added).

  Plaintiff also alleges that there “is no warrant for [his] arrest in the Caddo Courts’ databases for

  domestic violence abuse . . . .” Id. (emphasis added). In other words, Plaintiff conflates his

  allegations and reverts from alleging that he was arrested under the alleged 2008, non-existent

  fugitive/bench warrant to alleging that he was arrested for domestic abuse battery in 2016.

         Plaintiff appears to rely in part on a newspaper clipping from The Inquisitor, in which

  The Inquisitor reported that he was arrested “on a fugitive warrant.” [doc. #s 7, p. 2; 7-1, p. 5].

  The booking report to which he attaches the newspaper clipping, however, definitively reveals

  that he was arrested for domestic abuse battery. [doc. # 7-1, p. 5]. And, as above, even Plaintiff

  concedes (at times) that he was arrested for domestic abuse battery rather than for failing to

  appear at a sentencing. [doc. #s 3, p. 6; 12, p. 3-4].

         Plaintiff’s conflation aside, and to the extent he does claim that the arresting officers

  possessed only a fabricated bench/fugitive warrant, he fails to state a plausible claim because the

  officers were warranted to arrest Plaintiff for domestic abuse battery, and Plaintiff does not

  allege that the arresting officers lacked reliable knowledge of the arrest warrant for domestic



                                                    13
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 14 of 37 PageID #: 125




  abuse battery. “[T]here is no requirement that an officer possess the actual warrant; an arrest is

  legal if the officer acts under the authority of a warrant of which he or she has reliable

  knowledge.” Barnes v. Madison, 79 F. App'x 691, 703 (5th Cir. 2003). Moreover, an arrest is

  “proper even though the arresting officer did not have the actual written warrant in hand.” Gill v.

  United States, 421 F.2d 1353, 1355 (5th Cir. 1970); Bartlett v. United States, 232 F.2d 135, 138

  (5th Cir. 1956); Bradley v. Extradition Corp. of Am., 758 F. Supp. 1153, 1156 (W.D. La. 1991)

  (“An arrestee need not be presented with a copy of the arrest warrant.”).

          Next, in what appears to be the gravamen of Plaintiff’s complaint, he claims that

  someone—or a group of persons—forged or fabricated a warrant for his arrest for domestic

  abuse battery. Plaintiff suggests that Judge R. Lee Irvin conspired with others to fabricate the

  arrest warrant for domestic abuse battery, [doc. #s 1, p. 5; 3, p. 6; 12-1, p. 5], “after the fact” to

  “cover up the crime.” [doc. # 3, p. 6]. This claim, however, is implausible for several reasons.

          First, the arrest warrant for domestic abuse battery, which Judge R. Lee Irvin signed and

  which Plaintiff attaches to his pleading, is dated December 9, 2016. Officers arrested Plaintiff

  much later on June 21, 2018. Second, Plaintiff does not allege that Judge Irvin fabricated the

  warrant “after the fact,” rather, he alleges, without identifying the actors, “they” are trying to

  “submit” the warrant “after the fact.” [doc. # 3, p. 6]. In some respects, it appears that, rather

  than claiming that the arrest warrant was fabricated post-arrest, Plaintiff is claiming that “they”

  produced the warrant too late in his criminal proceeding. 11 Third, Officer Haygood, a non-party,

  applied for the arrest warrant on December 3, 2016, and Plaintiff neither alleges that Haygood




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    For instance, Plaintiff also alleges that a prosecutor submitted discovery “150 days after the
  incident occurred” to “thwart” Plaintiff’s civil proceeding. [doc. # 1, p. 5].
                                                     14
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 15 of 37 PageID #: 126




  conspired to fabricate the warrant nor seeks relief from Haygood in this proceeding. 12 [doc. #

  12-1, p. 4]. In other words, the arresting officers and prosecutors were not, under Plaintiff’s

  allegations, involved in applying for the warrant. Finally, Plaintiff bases his contention that the

  warrant was fabricated in part on his inability to locate the warrant in any records. [doc. #s 1, pp.

  5-6; 3, p. 6]. Stripped of this non sequitur—that the warrant did not exist because he could not

  locate it—Plaintiff’s claim that the warrant “was done after the incident” is conclusory. [See

  doc. # 1, p. 5]. Plaintiff does not plausibly allege, for instance, that Judge Irvin post-dated the

  warrant, that Judge Irvin did not actually sign the warrant, 13 or that Judge Irvin dated the warrant

  before the arrest but signed the warrant following the arrest.

           Next, as referenced above, Plaintiff contorts his allegations and alleges that “a request

  was sent to the prosecutor to get a warrant for [his] arrest and the request is still pending . . .

  meaning the prosecutor never approved or gave the officer the warrant for [his] arrest.” [doc. #

  1, p. 3]. As noted, however, Plaintiff attaches a warrant for his arrest for domestic abuse battery,

  which is signed by a judge. [doc. # 1-2, p. 5].

           Plaintiff alters course once more and claims that the warrant signed by Judge R. Lee Irvin

  “has no warrant number.” [doc. # 1, p. 5]. Plaintiff, however, does not explain how the absence

  of a “warrant number” invalidated this warrant or otherwise caused a violation of his

  constitutional rights.

           Plaintiff next claims that the warrant for domestic abuse battery is “very illegal” and “full




  12
    Plaintiff mentions that Haygood “is nowhere to be found,” is the officer “they used in the
  report,” did not respond to a subpoena, and “is not with the SPD.” [doc. # 12, p. 3]. Plaintiff
  does not allege, for instance, that Haygood does not exist or that Haygood did not complete the
  affidavit in support of the application for an arrest warrant.
  13
       Plaintiff alleges that Judge Irvin “signed this illegal warrant.” [doc. # 1, p. 6].
                                                      15
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 16 of 37 PageID #: 127




  of lies.” This claim is conclusory: Plaintiff does not explain why the warrant is illegal, and he

  does not identify the lies in the warrant.

          The penultimate focus of Plaintiff’s allegations (the ultimate being retaliatory arrest)

  appears to be that the arresting officers lacked probable cause to arrest him and that the

  prosecutor lacked probable cause to prosecute him. “It is well settled that if facts supporting an

  arrest are placed before an independent intermediary such as a magistrate or grand jury, the

  intermediary’s decision breaks the chain of causation for false arrest, insulating the initiating

  party.” 14 Deville v. Marcantel, 567 F.3d 156, 170 (5th Cir. 2009). “[T]he initiating party may be

  liable for false arrest,” however, “if the plaintiff shows that the ‘deliberations of that

  intermediary were in some way tainted by the actions of the defendant.’” Id. (quoting Hand v.

  Gary, 838 F.2d 1420, 1428 (5th Cir. 1988)). “But, ‘because the intermediary’s deliberations

  protect even officers with malicious intent,’ a plaintiff must show that the official’s malicious

  motive led the official to withhold relevant information or otherwise misdirect the independent

  intermediary by omission or commission.” 15 McLin v. Ard, 866 F.3d 682, 689 (5th Cir. 2017)



  14
     The ‘independent/impartial-intermediary doctrine’ does not insulate a defendant from a
  “Malley claim,” which the Fifth Circuit describes as a claim that an arrest was “based on a
  ‘warrant application . . . so lacking in indicia of probable cause as to render official belief in its
  existence unreasonable.’” Blake v. Lambert, 921 F.3d 215, 220 (5th Cir. 2019) (quoting Malley
  v. Briggs, 475 U.S. 335, 345 (1986)). Here, however, Plaintiff does not raise a Malley claim.
  Rather, his claim, at best, resembles a “Franks claim,” which the Fifth Circuit describes as a
  claim that an official “‘swear[s] to false information in an affidavit in support of a search [or
  arrest] warrant, provided that: (1) the affiant knew the information was false or would have
  known it was false except for the affiant’s reckless disregard for the truth; and (2) the warrant
  would not establish probable cause without the false information.’” Id. (citing Franks v.
  Delaware, 438 U.S. 154, 171 (1978)). “A similar standard applies to omitting exculpatory
  information.” Id.
  15
    Here, Plaintiff’s claims are “more like the tort of malicious prosecution” because Plaintiff was
  “arrested through the wrongful institution of legal process: an arrest pursuant to a warrant, issued
  through the normal legal process, that is alleged to contain numerous material omissions and
  misstatements.” Winfrey v. Rogers, 901 F.3d 483, 493 (5th Cir. 2018). That said, the Fifth
                                                    16
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 17 of 37 PageID #: 128




  (quoting Buehler v. City of Austin/Austin Police Dep’t., 824 F.3d 548, 555 (5th Cir. 2016)).

         Here, Plaintiff seems to ground his claims on his allegation that his girlfriend, Miranda

  McGee, recanted her accusation of domestic abuse battery. Plaintiff attaches a letter, signed by

  McGee, in which she recounted that, on December 5, 2016, she “spoke with the head of the

  Domestic unit . . . and told him [she] lied” and that she actually attacked Plaintiff. [doc. # 1-2, p.

  3]. She spoke with the same individual the “following Thursday and then again the following

  Wednesday after that.” Id.

         As above, Officer Haygood applied for the arrest warrant for domestic abuse battery.

  [doc. # 12-1, p. 4]. In that respect, Plaintiff does not name Haygood as a defendant or otherwise

  seek relief from Haygood. More important, defendants cannot be vicariously liable for

  Haygood’s actions even assuming Plaintiff assigned fault to Haygood. 16 Further, even assuming

  Plaintiff named Haygood as a defendant, Plaintiff does not allege that Haygood withheld

  material information or otherwise knowingly misdirected the judge in his notarized “Affidavit

  for Arrest Warrant.” See Buehler, 824 F.3d at 555. In fact, Haygood applied for the warrant on

  December 3, 2016, [doc. # 12-1, p. 4], and McGee recanted her accusations on December 5,



  Circuit has also concluded that no “freestanding constitutional right to be free from malicious
  prosecution exists.” Castellano v. Fragozo, 352 F.3d 939, 945 (5th Cir. 2003). Regardless,
  Plaintiff’s claims are, like false arrest claims, predicated on the absence of probable cause. See
  McDonough v. Smith, 139 S. Ct. 2149, 2156 (2019) (“Common-law malicious prosecution
  requires showing, in part, that a defendant instigated a criminal proceeding with improper
  purpose and without probable cause.”); Nieves, 139 S. Ct. at 1726. Moreover, the Fifth Circuit
  recently applied the independent-intermediary doctrine to a malicious prosecution claim. Curtis,
  761 F. App'x at 304 (agreeing that the impartial intermediary doctrine absolved the appellees of
  liability from the plaintiff’s claim that he was arrested and prosecuted without probable cause).
  16
     See Michalik v. Hermann, 422 F.3d 252, 261 (5th Cir. 2005) (declining to extend liability
  “beyond the affiant and person who actually prepared, or was fully responsible for the
  preparation of, the warrant application.”); Shaw v. Villanueva, 918 F.3d 414, 418 (5th Cir. 2019)
  (finding it irrelevant that a third party “doctored the complaint affidavit”); Adaway v. City of
  Jasper, Texas, 2017 WL 5641535, at *9 (E.D. Tex. Apr. 28, 2017).
                                                   17
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 18 of 37 PageID #: 129




  2016, [doc. # 1-2, p. 3]. In addition, McGee did not speak to Haygood; rather she spoke to the

  “head of the domestic unit . . . .” [doc. # 1-2, p. 3]. 17 Plaintiff does not allege that Haygood was

  aware of McGee’s recantations. 18

         Further, Plaintiff does not allege that the arresting officers or the prosecutor were

  involved in applying for the arrest warrant.

         Accordingly, Judge Irvin’s signed warrant breaks the chain of causation for false

  arrest/malicious prosecution and insulates the arresting officers and the prosecutor from liability.

  The Court should dismiss these claims.

  6. Retaliatory Arrest Relative to Plaintiff’s June 21, 2018 Arrest

         Plaintiff claims that the officers arrested him for domestic abuse battery on June 21,

  2018, because, in February 2012, he filed a complaint against them before the ACLU, alleging

  that they beat him. [doc. #s 1, pp. 2-3; 3, p. 6]. Plaintiff adds, “The incident that I reported to

  the ACLU was dismissed in the courts.” [doc. # 12, p. 5].

         A retaliatory prosecution is actionable only if a plaintiff can also prove the common-law

  elements of malicious prosecution, including the absence of probable cause. Curtis v. Sowell,

  761 F. App'x 302, 305 (5th Cir. 2019). In Curtis, the court found that, because a judge and grand



  17
     In Shaw, 918 F.3d at 418, the court held that two defendants, who were not the plaintiff’s
  accusers and who did not submit the subsequent probable-cause affidavit, were insulated from
  liability under the independent-intermediary doctrine because the plaintiff did not allege that they
  knew the accuser lied or that they knew their subordinates who prepared the probable-cause
  affidavit knew the accuser lied.
  18
    To the extent Plaintiff claims that Haygood was negligent in failing to either investigate
  McGee’s accusations or discover Plaintiff’s accusations against McGee before applying for a
  warrant, “[t]he defendant taints the magistrate's deliberations only when he has engaged in
  misconduct that exceeds mere negligence.” Dubrul v. Rains Cty., Texas, 176 F.3d 480 (5th Cir.
  1999) (citing Sanders v. English, 950 F.2d 1152, 1159-60 (5th Cir. 1992)); Kugle v. Shields, 62
  F.3d 395 (5th Cir. 1995) (“[N]egligent conduct leading up to the issuance of a warrant or grand
  jury indictment is not actionable.”).
                                                    18
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 19 of 37 PageID #: 130




  jury found probable cause, the district court did not err in dismissing the plaintiff’s retaliation

  claim. Id.

         Likewise, the United States Supreme Court “has never recognized a First Amendment

  right to be free from a retaliatory arrest that is supported by probable cause[.]” Reichle v.

  Howards, 566 U.S. 658, 664-65 (2012). “The plaintiff pressing a retaliatory arrest claim must

  plead and prove the absence of probable cause for the arrest.” Nieves, 139 S. Ct. at 1724. Under

  either a false-arrest/imprisonment or malicious-prosecution theory, the “presence of probable

  cause should generally defeat a First Amendment retaliatory arrest claim.” Id. at 1726.

          Here, as above, Judge Irvin found probable cause to arrest Plaintiff for domestic abuse

  battery, and Plaintiff does not allege that the finding was tainted. Accordingly, the Court should

  dismiss this claim. See id.

  7. Judge R. Lee Irvin

         Plaintiff faults Judge R. Lee Irvin for signing an “illegal warrant.” [doc. # 1, p. 6].

  Plaintiff adds, “District attorneys, Judge R. Lee Irvin, and the Officers of the Shreveport Police

  Department [are] all working together on one accord violating my civil rights and also

  committing criminal acts.” [doc. # 7, p. 1].

         This claim is entirely conclusory. Moreover, Judge Irvin is immune.

         “Judicial immunity is an immunity from suit and not just from the ultimate assessment of

  damages.” Ballard v. Wall, 413 F.3d 510, 515 (5th Cir. 2005). It “applies even when the judge

  is accused of acting maliciously and corruptly . . . .” Pierson v. Ray, 386 U.S. 547, 554 (1967).

  It “extends to all judicial acts which are not performed in the clear absence of all jurisdiction.”

  Kemp ex rel. Kemp v. Perkins, 324 Fed. App’x. 409, 411 (5th Cir. 2009) (citing Adams v.

  McIlhany, 764 F.2d 294, 297 (5th Cir. 1985)). There are only two exceptions: (1) non-judicial



                                                    19
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 20 of 37 PageID #: 131




  actions, i.e., actions not taken in the judge’s judicial capacity; and (2) lawsuits challenging

  actions taken in the complete absence of all jurisdiction. Mireles v. Waco, 502 U.S. 9, 11 (1991).

         “In determining whether an action is judicial, a court looks to the nature of the act itself;

  that is, whether the challenged act is a function normally performed by a judge.” Id. Courts

  consider four factors: (1) whether the precise act complained of is a normal judicial function; (2)

  whether the acts occurred in the courtroom or appropriate adjunct spaces such as the judge’s

  chambers; (3) whether the controversy centered around a case pending before the court; and (4)

  whether the acts arose directly out of a visit to the judge in his official capacity. Ballard, 413

  F.3d at 515. “These factors are broadly construed in favor of immunity.” Id. “Immunity may be

  applied even if one or more of these factors is not met.” Morrison v. Walker, 704 F. App'x 369,

  373 (5th Cir. 2017).

         Signing an arrest warrant is an act normally performed by a judge. Barnes, 79 F. App'x

  at 701; Hey v. Irving, 161 F.3d 7 (5th Cir. 1998). 19 Moreover, Plaintiff does not allege that

  Judge Irvin acted outside of the courtroom or chambers. Likewise, Plaintiff’s claim clearly

  “centers around” a prior proceeding before Judge Irvin, and nothing indicates that the alleged

  acts arose outside of a visit to Judge Irvin in his official capacity. 20 Moreover, Plaintiff does not

  allege that Judge Irvin acted in the absence of all jurisdiction.




  19
     See also Diaz v. Tocci, 2016 WL 3365494, at *6 (W.D. Tex. June 16, 2016) (“[T]he fact
  plaintiff disagrees with the rulings made by his state trial court judges does not, standing alone,
  establish those rulings were taken in a complete absence of all jurisdiction or that those judges
  were acting outside the scope of their official judicial duties when they made the rulings adverse
  to plaintiff.”).
  20
     See Morrison, 704 F. App'x at 374 (finding judicial immunity even where the plaintiff failed
  to offer any allegations relating to three of the four Ballard factors).
                                                    20
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 21 of 37 PageID #: 132




         “The fact that it is alleged that the judge acted pursuant to a conspiracy and committed

  grave procedural errors is not sufficient to avoid absolute judicial immunity.” Mitchell v.

  McBryde, 944 F.2d 229, 230 (5th Cir. 1991). “It is a well established rule that where a judge's

  absolute immunity would protect him from liability for the performance of particular acts, mere

  allegations that he performed those acts pursuant to a bribe or conspiracy will not be sufficient to

  avoid the immunity.” Holloway v. Walker, 765 F.2d 517, 522 (5th Cir. 1985).

         Accordingly, Judge Irvin is entitled to absolute judicial immunity, and the Court should

  dismiss the claims against him. 21

  8. Assistant District Attorney Ross Owen and Prosecutor Monique Davis

         Plaintiff claims that Assistant District Attorney Ross Owen withheld exculpatory

  evidence, answered Plaintiff’s request for evidence with an “altered false document,” introduced

  a “forged document dated January 14, 2014” at trial which stated that Plaintiff was “busted with

  $3,000 and drugs in violation of” Plaintiff’s probation, threatened to seek a life sentence for

  Plaintiff’s possession-with-the-intent-to-distribute-a-schedule-1-CDS charge, and moved to

  revoke his bond to ensure that Plaintiff could not litigate the instant civil proceeding. [doc. #s 1,

  p. 5; 7, p. 1; 13, p. 1]. Plaintiff also claims that Prosecutor Monique Davis withheld material

  evidence, initiated prosecution based on “false accusations,” and produced a photograph of a

  woman he had never seen before. [doc. #s 1, p. 5; 12, p. 3].

         “Criminal prosecutors . . . enjoy absolute immunity from claims for damages asserted

  under [42 U.S.C.] § 1983 for actions taken in the presentation of the state’s case.” Watson v.

  Walton, 68 F.3d 465 (5th Cir. 1995). “[A]cts undertaken by a prosecutor in preparing for the




  21
     Plaintiff seeks “declatory reliefs,” but he does not specify which defendant he seeks this relief
  from, and he does not specify what he wants the Court to declare.
                                                   21
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 22 of 37 PageID #: 133




  initiation of judicial proceedings or for trial, and which occur in the course of his role as an

  advocate for the State, are entitled to the protections of absolute immunity.” Kalina v. Fletcher,

  522 U.S. 118, 126 (1997) (holding that a prosecutor’s conduct in connection with preparing and

  filing charging documents was protected by absolute immunity).

         “Absolute immunity is not a rigid, formal doctrine, but attaches to the functions a

  prosecutor performs.” Moon v. City of El Paso, 906 F.3d 352, 359 (5th Cir. 2018). The Fifth

  Circuit has consistently held that the decision of when and whether to file criminal charges

  clearly falls within the scope of a district attorney’s prosecutorial duties protected by absolute

  prosecutorial immunity. See Quinn v. Roach, 326 F. App’x 280, 292 (5th Cir. 2009); Workman

  v. Calogero, 174 Fed. App’x. 824, 826 (5th Cir. 2006). Absolute immunity shields prosecutors

  even when they act maliciously, wantonly, or negligently. Loupe v. O’Bannon, 824 F.3d 534,

  539 (5th Cir. 2016).

         Here, Defendant Owen is absolutely immune from Plaintiff’s claim that he threatened

  Plaintiff with a life sentence. For instance, in McGruder v. Necaise, 733 F.2d 1146, 1148 (5th

  Cir. 1984), where the “defendants allegedly used their prosecutorial powers to threaten [the

  plaintiff] into dismissing his damages suit[,]” the court reasoned that, while such “a motivation

  would be reprehensible and such threats abhorrent, . . . they do not lift the decision to maintain a

  criminal prosecution from the prosecutorial activities protected by Imbler.” See also Taylor v.

  Kavanagh, 640 F.2d 450, 453 (2d Cir. 1981) (a prosecutor's activities in plea bargaining are an

  essential component of the criminal justice system and merit the protection of absolute

  immunity) (cited with approval by Tubwell v. Dunn, 12 F.3d 1097 (5th Cir. 1993)); Henzel v.

  Gerstein, 608 F.2d 654, 657 (5th Cir. 1979) (finding, where the plaintiff alleged that prosecutors

  threatened him with further prosecution, that the prosecutors were immune).



                                                    22
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 23 of 37 PageID #: 134




         Defendant Owen is absolutely immune from Plaintiff’s claim that he produced an

  “altered false document” 22 and another “forged document dated January 14, 2014,” which stated

  that Plaintiff was “busted with $3,000 and drugs in violation of” his probation. Defendant Davis

  is likewise immune from Plaintiff’s claim that she produced a photograph of a woman Plaintiff

  had never seen before. See Imbler v. Pachtman, 424 U.S. 409, 430 (1976) (absolute immunity

  protected prosecutor from suit even for knowingly using perjured testimony and suppressing

  material evidence at plaintiff's murder trial); Hargrove v. Welborn-Hawkins, 669 F. App'x 779

  (5th Cir. 2016) (finding prosecutors immune where the plaintiff alleged “no facts in support of

  his claim that the prosecutors fabricated evidence that was used against him.”).

         Defendants Owen and Davis are absolutely immune from Plaintiff’s claim that they

  withheld material evidence. The Fifth Circuit has “specifically held that the suppression of

  exculpatory evidence . . . is shielded by absolute immunity.” Truvia v. Julien, 187 F. App'x 346,

  348 (5th Cir. 2006).

         Defendant Owen is immune from Plaintiff’s claim that he moved to revoke Plaintiff’s

  bond to ensure that Plaintiff remained incarcerated and could not litigate this proceeding. [doc. #

  7, p. 1]. In Manuel v. Lehmberg, 690 F. App'x 245, 246 (5th Cir. 2017), the court held that the

  prosecutor was immune from the plaintiff’s allegation that prosecutor “set an excessively high



  22
     Plaintiff is referencing an alleged fabricated fugitive warrant. [doc. # 7, p. 1]. Plaintiff does
  not allege that Owen actually fabricated or falsified the document; instead, he claims that Owen
  submitted the false document in response to Plaintiff’s attorney’s request for exculpatory
  evidence. Id. Even if Plaintiff alleged that Owen fabricated the document, Owen would remain
  immune because he acted after Judge Irvin signed Plaintiff’s arrest warrant and well into the
  prosecution. In other words, Owen did not act as an investigator, he acted as an advocate. In
  Van Buren v. Cave, 236 F. App'x 894, 897 (5th Cir. 2007), the court opined that prosecutorial
  immunity protects a prosecutor who fabricates false evidence while engaging in—as opposed to
  preparing for—the initiation of prosecution or the presentation of the state’s case. The relevant
  question is whether the prosecutor acted “as an investigator or a prosecutor when she engaged in
  this conduct.” Id. at 898.
                                                   23
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 24 of 37 PageID #: 135




  bond to ensure” that the plaintiff remained in prison. See Slavin v. Curry, 574 F.2d 1256, 1264

  (5th Cir. 1978) (finding a prosecutor immune where the plaintiff alleged that the prosecutor

  moved to cancel the plaintiff’s bond), overruled on other grounds by Sparks v. Duval Cty. Ranch

  Co., 604 F.2d 976 (5th Cir. 1979); see also Sosa v. Strain, 2007 WL 1521441, at *6 (E.D. La.

  May 22, 2007) (“If plaintiff believed that his bond was improperly revoked or forfeited, his

  recourse was to challenge the pertinent ruling in the state's appellate courts, not to sue the

  prosecuting attorney in a federal civil rights action.”).

         Finally, Davis is immune from Plaintiff’s claim that she initiated prosecution based on

  false accusations. [doc. # 12, p. 3]. As above, the decision of when and whether to file criminal

  charges clearly falls within the scope of a district attorney’s prosecutorial duties protected by

  absolute prosecutorial immunity. See Imbler, 424 U.S. at 430-31.

         Under Plaintiff’s allegations, Owen and Davis acted only in the course of their roles as

  governmental advocates. Accordingly, the Court should dismiss these claims as frivolous and

  because Plaintiff seeks monetary relief from defendants immune from such relief. 23

  9. Conspiracy

         Citing 18 U.S.C. § 241, Plaintiff claims that Judge Irvin, Assistant District Attorney

  Owen, and Prosecutor Monique Davis engaged in a conspiracy. [doc. # 3, p. 6]. Section 241,

  however, is a criminal statute and does not provide a basis for civil liability. Gill v. State of

  Texas, 153 F. App'x 261, 262 (5th Cir. 2005). “[D]ecisions whether to prosecute or file criminal




  23
    In addition to reasons discussed below relative to Plaintiff’s claims of an overarching
  conspiracy, Plaintiff’s conclusory allegations of conspiracy relative to these prosecutors do not
  pierce their immunity. See Brown, 519 F. App'x at 238; Patton v. Bryant, 584 F. App'x 242, 243
  (5th Cir. 2014) (holding that the plaintiff’s conclusional allegations of conspiracy did not pierce
  the prosecutors’ or the judge’s immunity); Holloway, 765 F.2d at 522 (holding that allegations of
  conspiracy will not void immunity for judicial acts).
                                                    24
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 25 of 37 PageID #: 136




  charges are generally within the prosecutor's discretion, and, as a private citizen, [a plaintiff] has

  no standing to institute a federal criminal prosecution and no power to enforce a criminal

  statute.” Id.

          Plaintiff also alleges that these defendants conspired to deprive him of his civil rights.

  [doc. # 1, p. 6]. He alleges that “prosecutors and the agents who broke the law are all working

  together breaking many laws.” [doc. # 3, p. 6]. “They are all working together in a ring of

  corruption.” Id. In another pleading, he alleges that “District Attorneys, Judge R. Lee Irvin, and

  the Officers of the Shreveport Police Department all working together on one accord violating

  my civil rights and also committing criminal acts. [sic].” [doc. # 7, p. 1]. In yet another

  pleading, Plaintiff alleges, “They are all working together in a conspiracy to cover up a crime.”

  [doc. # 12, p. 5].

          “A conspiracy may be charged under section 1983 as the legal mechanism through which

  to impose liability on all of the defendants without regard to who committed the particular act,

  but ‘a conspiracy claim is not actionable without an actual violation of section 1983.’” Hale v.

  Townley, 45 F.3d 914, 920 (5th Cir. 1995) (quoting Pfannstiel v. City of Marion, 918 F.2d 1178,

  1187 (5th Cir. 1990)). “To plead a conspiracy under Section 1983, a plaintiff must allege facts

  that suggest: 1) an agreement between the private and public defendants to commit an illegal act,

  and 2) an actual deprivation of constitutional rights.” Shine v. Jones, 743 F. App'x 566, 568 (5th

  Cir. 2018). “Charges as to such conspiracies must be based on substantial and affirmative

  allegations, and no mere gossamer web of conclusion or inference . . . trifles light as air . . . will

  suffice[.]” Crummer Co. v. Du Pont, 223 F.2d 238, 245 (5th Cir. 1955).

          Here, Plaintiff does not allege that that Defendants Owen, Davis, Irvin, Belanger,

  Bradley, Albrecht, or Holly agreed to commit an illegal act. Plaintiff does allege that they



                                                    25
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 26 of 37 PageID #: 137




  worked together “on one accord,” but this threadbare allegation does not suffice: “[c]onclusory

  allegations that do not reference specific factual allegations tending to show an agreement do not

  suffice to state a civil rights conspiracy claim under § 1983.” See Montgomery v. Walton, 759 F.

  App'x 312, 314 (5th Cir. 2019). Even to the extent this allegation did plausibly reflect an

  agreement, Plaintiff does not specify which, of the many alleged illegal acts he references, they

  agreed to perform. 24 See Arsenaux v. Roberts, 726 F.2d 1022, 1024 (5th Cir. 1982) (“[M]ore

  than a blanket of accusation is necessary to support a § 1983 claim.”). In this respect, Plaintiff

  fails to plead an essential element of a conspiracy claim.

            Moreover, with the exception of Plaintiff’s excessive force claim—which he does not

  allege to be the product of a conspiracy—Plaintiff has not plausibly alleged a deprivation of his

  constitutional rights. “No deprivation, no § 1983 conspiracy.” Shaw v. Villanueva, 918 F.3d

  414, 419 (5th Cir. 2019); Curtis, 761 F. App'x at 306 (“Because Curtis’s federal conspiracy

  claim cannot stand without an underlying constitutional violation, it fails as well.”); Moore v.

  Grant, 79 F. App'x 676, 677 (5th Cir. 2003). Accordingly, the Court should dismiss these

  claims.




  24
     See Montgomery, 759 Fed. App’x at 314 (“Montgomery’s amended complaint is disorganized
  and the facts are very loosely tied together. At points in this complaint, Montgomery alleges that
  the defendants ‘act[ed] in concert,’ ‘agree[d]’ to plant contraband, and ‘elicited aid’ from each
  other for the purpose of violating his civil rights. Most importantly, although he alleges there was
  an agreement—an agreement to kill or imprison him—these allegations are largely conclusory
  without any identification of time, date, or circumstance. . . . It would appear that Montgomery
  strives to allege an overarching conspiracy by persons associated for the purpose of setting him
  up for the criminal conduct that has landed him in prison. Yet, . . . there is no alleged common
  motive . . . among all of the defendants for that matter, except a vague and conclusory assertion
  that they ‘wanted [Montgomery] dead’ or imprisoned because he was a threat to Espin. Finally,
  Montgomery pleads no specific facts regarding the connection between the public officials and
  private citizens or where or when the criminal conduct occurred. In short, the allegations are
  incomprehensible for purposes of stating a claim of conspiracy against the defendants to deprive
  him of any cognizable constitutional rights.”).
                                                   26
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 27 of 37 PageID #: 138




  10. Defamation

          Plaintiff writes, “I am seeking damages for defamation because I was arrested as a

  fugitive for Domestic Violence Abuse and it was in the Inquisitor, the local news and online.

  [sic].” [doc. #s 1, p. 7; 12, p. 6]. Plaintiff apparently claims that The Inquisitor either falsely

  reported that he was arrested under a fugitive warrant or falsely indicated that Plaintiff was a

  fugitive. [See doc. #s 7, p. 2; 7-1, p. 5].

          “[D]amage to an individual's reputation as a result of defamatory statements made by a

  state actor, accompanied by an infringement of some other interest, is actionable under § 1983.”

  Cormier, 493 F. App'x at 584 (quoted source omitted). The Fifth Circuit describes this as the

  “stigma-plus-infringement” test. State of Tex. v. Thompson, 70 F.3d 390, 392 (5th Cir. 1995).

  “To meet the stigma prong, a plaintiff must show that the stigma was caused by concrete, false

  factual assertions by a state actor.” Id. (emphasis added).

          Here, The Inquisitor is not a state actor, and Plaintiff does not offer any plausible

  allegations to establish it otherwise acted under color of state law. See Lavergne v. Turk, 583 F.

  App'x 367, 368 (5th Cir. 2014) (observing that Independent Media group was a private citizen);

  Bui Phu Xuan v. Fort Worth Star Telegram, 277 F. App’x 452, 454 (5th Cir. 2008) (observing

  that the Star-Telegram, which allegedly published two libelous articles about the appellant, was a

  private party).

          Plaintiff does mention the word “conspire” in the vicinity of his claim, which could

  theoretically imply that the private defendant conspired, or acted in concert with, state actors.

  [doc. # 12, p. 6]. However, as above, “[f]or a private citizen . . . to be held liable under § 1983,

  ‘the plaintiff must allege and prove that the citizen conspired with or acted in concert with state

  actors.’” Lavergne, 583 F. App'x at 368 (quoting Mylett v. Jeane, 879 F.2d 1272, 1275 (5th Cir.



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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 28 of 37 PageID #: 139




  1989)). “A plaintiff satisfies this burden by alleging and proving ‘(1) an agreement between the

  private and public defendants to commit an illegal act and (2) a deprivation of constitutional

  rights. Allegations that are merely conclusory, without reference to specific facts, will not

  suffice.’” Id. (quoting Priester v. Lowndes County, 354 F.3d 414, 420 (5th Cir. 2004)).

            Here, Plaintiff’s allegation of a conspiracy is entirely conclusory. As this defendant did

  not act under color of state law, Plaintiff’s claim against it should be dismissed as frivolous and

  for failure to state a claim on which relief can be granted.

  11. Conclusory Claims

            Plaintiff claims, without elaborating: “I’m being retaliated on because of my Civil suit.”

  [doc. # 7, p. 1]. Plaintiff does not identify the civil suit he references, 25 and he does not identify

  a responsible defendant.

            Plaintiff claims that, on April 4, 2019, an unidentified “officer for the animal shelter”

  lured him out of his house and to the street so that other officers—the “Jump Out Boys Unit”—

  could arrest him. [doc. # 12, p. 1]. Plaintiff alleges that luring him to the street was an “illegal

  procedure.” Id. Plaintiff does not, however, explain why the alleged procedure was illegal or

  how the procedure violated his constitutional rights.

            Plaintiff claims further:

             Another example of retaliation is the covering up of many federal violations of
             my Constitutional Rights. Ever since I made it clear in both courts that I was
             arrested illegally and framed, and that I will be pursuing all Civil actions against
             all parties I have been treated unfairly. Even the Internal Affairs sent a letter
             that I was wrong for filing these actions against these officers after I provided
             proof that it’s not a warrant for Dec. 9, 2016 or June 21, 2018. They are all
             working together in a conspiracy to cover up a crime. All of them. If they
             would’ve been abiding by the law without malice this incident would’ve never
             occurred.



  25
       Presumably, he references this civil proceeding.
                                                     28
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 29 of 37 PageID #: 140




  [doc. # 12, p. 5]. Plaintiff, however, does not identify a specific “federal violation,” specify how

  he was treated unfairly, or identify a responsible defendant(s).

            A complaint fails to state a claim on which relief may be granted when it fails to plead

  “enough facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570.

  To reiterate, a civil rights plaintiff must support his claims with specific facts demonstrating a

  constitutional deprivation and may not simply rely on conclusory allegations. Ashcroft, 556 U.S.

  at 662.

            Here, even construed liberally and in Plaintiff’s favor, these claims are vague and

  conclusory. He does not disclose enough pertinent facts to state plausible claims. The Court

  should dismiss these claims.

  12. Heck v. Humphrey Concerning Plaintiff’s April 4, 2019 Arrest

            Plaintiff claims that, on April 3, 2019, Defendant Belanger fabricated an affidavit and

  submitted it to obtain a warrant to search Plaintiff’s residence. [doc. # 12, p. 1]. Plaintiff alleges

  that Belanger lied in the affidavit when he stated that an unknown female emerged from

  Plaintiff’s home and sold a controlled substance to a confidential informant. Id.

            As noted, Plaintiff was subsequently charged with possession with intent to distribute a

  schedule 1 CDS and possession of a schedule IV CDS. [doc. #s 12, p. 4; 12-1, p. 28]. A jury

  found Plaintiff guilty. [doc. # 13, p. 3].

            Again, under Heck v. Humphrey, 512 U.S. 477 (1994), a successful civil rights action that

  would necessarily imply the invalidity of a plaintiff’s conviction or sentence must be dismissed

  unless the plaintiff first shows that the conviction or sentence has been reversed, expunged,

  declared invalid, or called into question by a federal court’s issuance of a writ of habeas corpus.




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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 30 of 37 PageID #: 141




          Here, prevailing on this claim—that the search of Plaintiff’s residence was

  unconstitutional because Belanger lied in the affidavit in support of the application for a search

  warrant—would necessarily imply the invalidity of Plaintiff’s conviction. Plaintiff’s unlawful

  search claim is predicated on the absence of probable cause for the search and, therefore,

  constitutes a collateral attack on the conviction because the conviction is a product of the

  evidence derived from the search. See Hall, 48 F. App'x at 481 (“Hall's claims regarding his

  allegedly illegal arrest and illegal search and seizure, if successful, would undermine the validity

  of his felony drug conviction.”); Cornett v. Longois, 275 F.3d 42 (5th Cir. 2001) (“Moreover, the

  true nature of the claim appears to be that the officers' illegal search of his home violated his

  First and Fourth Amendment rights. . . . [B]ecause the claim would implicate the validity of his

  criminal conviction if successful, it is barred by Heck v. Humphrey . . . .”); Cougle v. Cty. of

  DeSoto, Miss., 303 F. App'x 164, 165 (5th Cir. 2008) (“The district court correctly recognized

  that the allegations of unlawful search and arrest in this case, if true, would necessarily imply the

  invalidity of the revocation of Cougle's probation, which was based, at least in part, on the same

  search and arrest.”).

         Thus, Plaintiff may not seek damages for the alleged unlawful search until his conviction

  is reversed, expunged, declared invalid, or called into question by a federal court’s issuance of a

  writ of habeas corpus. The Court should dismiss this claim.

  13. Judge Erin Garret

         Plaintiff claims that, with respect to his April 4, 2019 arrest, Judge Garret: (1) signed a

  warrant to search his residence despite knowing that the officer’s warrant affidavit/application

  contained lies; (2) illegally revoked his bond; (3) scheduled a trial for the “incident of April 4,

  2019” before the trial for “the incident of June 21, 2018”; (4) threatened him, had “3 different



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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 31 of 37 PageID #: 142




  outbursts of anger,” and found him in contempt for referencing his civil suit and violations of his

  civil rights; and (5) failed to grant a mistrial or empanel a new jury after one juror “had a loud

  outburst of frustration and anger.” [doc. #s 12, p. 1; 13, pp. 1-3].

            Plaintiff does not, however, allege that Judge Garret’s actions were non-judicial in nature

  or were taken in the complete absence of all jurisdiction. Signing warrants, 26 granting or

  revoking bond, 27 scheduling trials, 28 managing or presiding over court proceedings, 29 and ruling

  on motions 30 are all acts normally performed by a judge.

            Moreover, Plaintiff does not allege that Judge Garret acted outside of the courtroom or

  chambers. Likewise, Plaintiff’s claims clearly “center around” a prior proceeding before Judge

  Garret, and nothing indicates that the alleged acts arose outside of a visit to Judge Garret in

  Garret’s official capacity. Moreover, Plaintiff does not allege that Judge Garret acted in the

  absence of all jurisdiction.




  26
       See Barnes, 79 F. App'x at 701; Hey, 161 F.3d at 7.
  27
    See Barnes, 79 F. App’x at 701 (finding that absolute immunity cloaked a judge who set the
  plaintiff’s bond); Herring v. Mayfield, 51 F.3d 1043, 1995 WL 153026, at *1 (5th Cir. 1995)
  (“[S]etting the amount of the bond . . . is within the scope of [the judge’s] jurisdiction, thus
  affording her absolute judicial immunity.”).
  28
     See Perry v. Dallas Sheriff's Dep't, 2014 WL 6809192, at *5 (N.D. Tex. Dec. 3, 2014) (finding
  a judge immune where the plaintiff alleged that judge erred in scheduling proceedings).
  29
    See Avdeef v. Royal Bank of Scotland, P.L.C., 616 F. App'x 665, 674 (5th Cir. 2015) (finding a
  judge immune where the plaintiff alleged that, during a contempt hearing, the judge threatened to
  arrest him); Morrison, 704 F. App'x at 374 (“[H]olding contempt hearings is a normal judicial
  function.”).
  30
    See Broadway v. Sinex, 166 F.3d 339 (5th Cir. 1998) (“Broadway's suit against the state-court
  judges involves the judges' rulings while presiding over the case which was properly before
  them, for which the judges are absolutely immune from civil suit.”).
                                                    31
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 32 of 37 PageID #: 143




         Plaintiff’s blanket allegations and assertions of error do not allege any fact that would

  show that Judge Garret’s actions were taken outside of Garret’s judicial capacity. See Brown v.

  Dove, 519 F. App'x 237, 237-38 (5th Cir. 2013). Even construing Plaintiff’s allegations liberally

  in his favor, any possible wrongdoing by Judge Garret was strictly limited to acts performed in

  Judge Garret’s judicial capacity. 31 See Green v. Mallia, 400 F. App'x 816, 818 (5th Cir. 2010).

         Accordingly, Judge Garret is entitled to absolute judicial immunity. The Court should

  dismiss these claims.

  14. Perjury

         Plaintiff claims that Officer Belanger committed perjury during trial when he testified

  that Plaintiff told him that “the judge was going to jail for signing this warrant.” [doc. # 13, p.

  1]. Belanger also committed perjury, according to Plaintiff, when he testified that he possessed

  a warrant for Plaintiff’s arrest on June 21, 2018. Id.

         “Police officers are absolutely immune from liability for their allegedly perjurious

  testimony.” Propes v. Wolf, 178 F. App’x 388, 389 (5th Cir. 2006); see Brown v. Jones, 24 F.3d

  238 (5th Cir. 1994). Thus, the Court should dismiss these claims.

  15. Public Defender Richard Fischer

         Plaintiff claims that his public defender, Richard Fischer, failed to “submit” a video

  depicting Belanger’s alleged use of excessive force, refused to raise certain arguments in state

  court (i.e. that there was “no warrant in the June 21, 2018 incident,” that Plaintiff “had no drugs”




  31
     That Plaintiff (at times) characterizes Judge Garret’s actions as retaliatory does not strip Judge
  Garret of immunity. For instance, in Johnson v. Kegans, 870 F.2d 992, 994 (5th Cir. 1989), the
  plaintiff alleged that two judges filed letters, in which they sought denial of plaintiff’s parole, in
  retaliation for plaintiff’s civil rights suits against one of the judges. Even though the plaintiff
  claimed that the judges’ actions were retaliatory, the court concluded (without addressing the
  traditional elements of a retaliation claim) that the judges were absolutely immune.
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Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 33 of 37 PageID #: 144




  in his home, and that an officer lured Plaintiff out of his house so other officers could arrest him),

  refused to call Plaintiff’s proposed witness, and, overall, rendered ineffective assistance. [doc. #

  13, pp. 2-3].

         To state a claim under Section 1983, a plaintiff must allege that a defendant acted “under

  color” of state law. 42 U.S.C. § 1983. “Anyone whose conduct is ‘fairly attributable to the

  state’ can be sued as a state actor under § 1983.” Filarsky v. Delia, 566 U.S. 377, 383 (2012)

  (quoting Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 (1982)). “Fair attribution” means: (1)

  “the deprivation must be caused by the exercise of some right or privilege created by the State or

  by a rule of conduct imposed by the state or by a person for whom the State is responsible”; and

  (2) “the party charged with the deprivation must be a person who may fairly be said to be a state

  actor.” Lugar, 457 U.S. at 937. Of import, “a public defender does not act under color of state

  law when performing a lawyer’s traditional functions as counsel to a defendant in a criminal

  proceeding.” Polk Cty. v. Dodson, 454 U.S. 312, 325 (1981).

         Here, Defendant Fischer did not act under color of state law: deciding what evidence to

  introduce, which arguments to raise, and which witnesses to call are, manifestly, traditional

  functions of counsel. See Ellison v. De La Rosa, 685 F.2d 959, 960 (5th Cir. 1982) (finding,

  where the plaintiff alleged that his counsel was ineffective “for allowing two fundamentally

  defective indictments to be prosecuted against him,” that counsel was performing a lawyer’s

  traditional function); Amir-Sharif v. Dallas Cty. Pub. Defs. Office, 233 F. App’x 364, 365 (5th

  Cir. 2007) (finding, where a plaintiff was concerned with the “quality of legal assistance being

  provided to him by appointed counsel and the public defender[,]” that “the attorney defendants . .

  . are not state actors for § 1983 purposes.”); Linn v. Saitin, 575 F. App'x 531, 532 (5th Cir. 2014)




                                                   33
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 34 of 37 PageID #: 145




  (affirming, where the plaintiff alleged that a public defender and her supervisor rendered

  ineffective assistance, that the defendants were not state actors). 32

         Plaintiff does allege that Fischer is “guilty of working with the prosecution from day one”

  and is helping Assistant District Attorney Owen and “the police officers” cover up their crimes.

  [doc. # 13, pp. 2-3]. Plaintiff derives these allegations from an alleged argument between Fisher

  and Assistant District Attorney Owen, during which Owen “snatche[d] papers” from Fischer and

  Fischer responded, “I’m sorry.” Id. at 2. Plaintiff suggests that, because Fischer apologized, the

  pair must be “working together.” Id.

         Plaintiff’s allegation of a conspiracy is, however, insufficient to classify Fischer as a state

  actor. That Fischer apologized to Owen in court does not plausibly reflect an agreement or

  concerted action to commit an illegal act. See Linn, 575 F. App'x at 532 (rejecting the plaintiff’s

  argument that his counsel acted in concert with the prosecution because the plaintiff “made only

  generalized allegations of concerted action, which [was] insufficient to establish the existence of

  a conspiracy.”); Russell v. Millsap, 781 F.2d 381, 383 (5th Cir. 1985) (a plaintiff’s “mere

  characterization” of a defendant’s conduct “as conspiratorial or unlawful [does] not set out

  allegations upon which relief can be granted.”); Miller v. Graham, 447 F. App'x 549, 551 (5th




  32
     See also O'Brien v. Colbath, 465 F.2d 358 (5th Cir. 1972) (holding that the ineffective
  assistance of a public defender in a criminal case does not raise a claim cognizable under Section
  1983 because no “state action” is involved and because Section 1983 was not intended as a
  “vehicle for prosecuting malpractice suits against court-appointed attorneys.”); U.S. ex rel.
  Simmons v. Zibilich, 542 F.2d 259, 261 (5th Cir. 1976) (“The court-appointed attorney, like any
  retained counsel, serves his client. He represents the client, not the state. The ancillary facts that
  the court has a hand in providing counsel, and that the attorney selection board in Orleans Parish
  obtains its authority from statute, do not alter the attorney-client relationship. That relationship is
  our concern here. Accordingly, the district court correctly disallowed any [Section] 1983 claim
  raised by Plaintiff-Appellant, since the situation presents no state action.”).
                                                    34
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 35 of 37 PageID #: 146




  Cir. 2011) (“Miller has presented no specific facts showing an agreement between the private

  defendants and any state actor in this case.”).

         Assuming, for the sake of argument, that Fischer acted under color of state law, the

  undersigned would recommend dismissing Plaintiff’s claim under Heck v. Humphrey. See

  Williams v. Eastland, 54 F. App'x 795 (5th Cir. 2002) (“Because Williams' claims are based on

  his attorney's alleged ineffective assistance, they are barred by Heck because he has not shown

  that his conviction has been reversed, expunged, invalidated, or otherwise called into question.”);

  Lawson v. Speetjens, 42 F.3d 642 (5th Cir. 1994) (“Lawson specifically alleged that public

  defender Fortner and state prosecutor Speetjens worked together to help convict Lawson.

  Nevertheless, the claim of conspiracy falls within the ambit of Heck, and as such, we affirm the

  district court's dismissal of the claim, although we do so on different grounds.”).

         The Court should dismiss these claims.

  16. Shreveport Police Department

         Plaintiff names Shreveport Police Department as a defendant. Federal Rule of Civil

  Procedure 17(b)(3) provides that the “[c]apacity to sue or be sued is determined . . . by the law of

  the state where the court is located . . . .” Under Louisiana law, an entity must qualify as a

  “juridical person,” which is an “entity to which the law attributes personality, such as a

  corporation or a partnership.” LA. CIV. CODE art. 24.

         Here, Shreveport Police Department does not qualify as a juridical person. See Cozzo v.

  Tangipahoa Parish Council-President Government, 279 F.3d 273, 283 (5th Cir. 2002) (“[A]

  sheriff’s office is not a legal entity capable of being sued . . . .”). Accordingly, the Court should

  dismiss Plaintiff’s claims against Shreveport Police Department.




                                                    35
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 36 of 37 PageID #: 147




                                          Recommendation

         For the foregoing reasons, IT IS RECOMMENDED that Plaintiff Cameron Kemp’s

  claims against Judge R. Lee Irvin, Judge Erin Garret, Assistant District Attorney Ross Owen, and

  Prosecutor Monique Davis, as well as Plaintiff’s claim that Officer Belanger committed perjury,

  be DISMISSED WITH PREJUDICE as frivolous, for failing to state claims on which relief

  may be granted, and for seeking monetary relief against defendants immune from such relief.

         IT IS FURTHER RECOMMENDED that Plaintiff’s claims relating to his charge for

  possession with the intent to distribute a schedule 1 CDS, which arise from his June 21, 2018

  arrest, be STAYED under the following conditions:

         a. If Plaintiff intends to proceed with his claims, he must, within thirty (30) days
         of the date the criminal proceedings against him have concluded, file a motion to
         lift the stay;

         b. If the stay is lifted and the Court finds that Plaintiff’s claims would impugn the
         validity of his conviction, the action will be dismissed under Heck; if no such
         finding is made, the action will proceed absent some other bar to suit;

         c. Plaintiff should not file any more documents concerning these particular claims
         (other than an objection to this Report and Recommendation if he so chooses) in
         this action until the state court proceedings conclude; and

         d. Defendants shall not be required to answer these particular claims during the
         stay, and Plaintiff may not seek a default judgment or conduct any discovery
         during the stay.

         IT IS FURTHER RECOMMENDED that Plaintiff’s claim against Officer Belanger,

  relating to the conviction arising from Plaintiff’s April 3, 2019 arrest, be DISMISSED WITH

  PREJUDICE as frivolous until the Heck conditions are met.

          IT IS FURTHER RECOMMENDED that, with the exception of Plaintiff’s excessive

  force claim against Officer Belanger, Plaintiff’s remaining claims be DISMISSED WITH

  PREJUDICE as frivolous and for failing to state claims on which relief may be granted.



                                                  36
Case 5:19-cv-00799-EEF-JPM Document 15 Filed 10/15/19 Page 37 of 37 PageID #: 148




          Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Rule 72(b), parties aggrieved by

  this recommendation have fourteen (14) days from service of this Report and Recommendation

  to file specific, written objections with the Clerk of Court. A party may respond to another

  party’s objections within fourteen (14) days after being served with a copy of any objections or

  response to the district judge at the time of filing.

          Failure to file written objections to the proposed factual findings and/or the

  proposed legal conclusions reflected in this Report and Recommendation within fourteen

  (14) days following the date of its service, or within the time frame authorized by Fed. R.

  Civ. P. 6(b), shall bar an aggrieved party from attacking either the factual findings or the

  legal conclusions accepted by the District Court, except upon grounds of plain error. See

  Douglass v. United Services Automobile Association, 79 F.3d 1415 (5th Cir. 1996).
        In Chambers, Monroe, Louisiana, this 15th day of October, 2019.




                                                          __________________________________
                                                          KAREN L. HAYES
                                                          UNITED STATES MAGISTRATE JUDGE




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